Case 2:04-Cv-02848-.]PI\/|-tmp Document 15 Filed 08/29/05 Page 1 of 2 Page|D 16

UNITED sTA'rEs DISTRICT coURT msv__.%....__w
wEsTERN DISTRICT oF TENNESSEE

 

 

wEsTERN DIvIsIoN 05“$29P"$5°
moww.
mes% rmmr
RoRY ALLEN GREGORY, JUDGMENT J:N A cIv:l:L cAUEOFTN.MWPHS
Petitioner,
v.
T.c. oUTLAw, cAsE No= 04-2848 M1/P
Respondent.
wooan

 

JUDGMENT BY COURT. This action having come before the Court for
consideration, the issues having been considered, and a decision
rendered,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Denying Petition Pursuant to 28 U.S.C. § 2241, Order
Certifying Appeal Not 'I‘aken in Good Faith, and Notice of Appellate
Filing Fee, entered August §§ , 2005, this case is DISMISSED.

APPROVED :

Qm@ MO‘~ O~QQ~

JO P. MCCALLA
TED S'I‘ATES DIS‘I‘RICT COURT

Qu_q_ 29,200§ THOMASM.GouLD
Date(/ Clerk of Court

 

 

 

(By) eputg Clerko

This document entered on the docket heat in compliance
with ama 53 and/or ra(a) FHCP on f ’ZQ '0.1" §

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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August 29, 2005 to the parties listed.

 

Rory Allen Gregory
36628-079

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1\/1emphis7 TN 38184--055

Honorable .1 on McCalla
US DISTRICT COURT

